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                    IN THE UNITED STATED BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

IN RE:                              )
                                    )
ROXBY DEVELOPMENT, LLC,             )               Case No. 5:23-bk-00212
                                    )
            Debtor.                 )               Chapter 11
___________________________________ )

                                             ORDER
         On May 11, 2023, the United States Trustee (“UST”) filed a motion to dismiss this case
based upon the Debtor’s alleged failure to maintain insurance upon its property. Based upon the
gravity of the situation, the court does hereby
         ORDER that a telephonic hearing regarding the motion be held at 2:30 p.m. on
Wednesday, May 17, 2023. To participate in the hearing, interested parties may dial (877)848-
7030 and enter the access code 6500181 when prompted. The court does hereby
         FURTHER ORDER that the Debtor file and provide to interested parties proof of
insurance, to the extent any exists, by the close of business on Tuesday, May 16, 2023. The court
does hereby
         FURTHER ORDER THAT FAILURE TO PROVIDE PROOF OF LIABILITY AND
PROPERTY INSURANCE MAY RESULT IN DISMISSAL OF THE CASE WITHOUT
FURTHER PROCEEDINGS.
